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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR15-0202-JCC
10                             Plaintiff,                   ORDER
11          v.

12   ENRIQUE AGUILAR VALENCIA,

13                             Defendant.
14

15          This matter comes before the Court on Defendant’s pro se motion for compassionate
16   release and Defendant’s motion to reduce sentence (Dkt. Nos. 361, 377), the parties’ motions to
17   seal (Dkt. Nos. 379, 383), and the Government’s motion for leave to file an overlength brief
18   (Dkt. No. 381). Having considered the parties’ briefing and the relevant record, the Court hereby
19   DENIES Defendant’s motions for compassionate release and to reduce sentence (Dkt. Nos. 361,
20   377) and GRANTS the parties’ motions to seal and the Government’s motion to file an
21   overlength brief (Dkt. Nos. 379, 381, 383) for the reasons explained herein.
22   I.     BACKGROUND
23          Defendant is currently serving a 144-month sentence at FCI Sheridan following his 2016
24   guilty pleas on counts of conspiracy to distribute controlled substances and conspiracy to commit
25   money laundering. (Dkt. No. 317.) Defendant filed a pro se motion for compassionate release,
26   followed by counsel’s motion for reduction of sentence. (Dkt. Nos. 361, 377.) Defendant asserts


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 1   that, in light of the COVID-19 pandemic, his medical conditions are sufficiently extraordinary

 2   and compelling to justify the Court’s consideration of a reduced sentence in accordance with 18

 3   U.S.C. § 3582(c)(1). (See generally Dkt. Nos. 361, 377.)

 4   II.    DISCUSSION

 5          A.       Defendant’s Motion for Compassionate Release

 6          A court may reduce a term of imprisonment if “extraordinary and compelling reasons

 7   warrant such a reduction” and “such a reduction is consistent with applicable policy statements

 8   issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). The Sentencing
 9   Commission’s relevant policy statement adds that a court may reduce a term of imprisonment if
10   “the defendant is not a danger to the safety of any other person or to the community.” United
11   States Sentencing Guidelines (“U.S.S.G.”) § 1B1.13. The policy statement also directs courts to
12   consider the factors set forth in 18 U.S.C. § 3553(a). U.S.S.G. § 1B1.13 cmt. n.4. Taken together,
13   the policy statement and 18 U.S.C. § 3582(c)(1)(A) establish three requirements that must be
14   satisfied before reducing a defendant’s sentence: extraordinary and compelling reasons must
15   warrant release, a defendant cannot represent a danger to the community upon release, and any
16   reduction in the defendant’s sentence must be consistent with 18 U.S.C. § 3553(a). See 18 U.S.C.
17   § 3582(c)(1)(A); U.S.S.G. § 1B1.13. 1
18          A court may find extraordinary and compelling reasons to release a defendant if the

19   defendant “suffer[s] from a serious physical or medical condition . . . that substantially

20   diminishes the [defendant’s] ability . . . to provide self-care within the environment of a

21   correctional facility and from which he or she is not expected to recover.” 18 U.S.C.

22   § 3582(c)(1)(A); U.S.S.G. § 1B1.13 cmt. n.1(A). Health conditions that make an inmate

23   significantly more vulnerable to COVID-19 may constitute extraordinary and compelling

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              Defendant presented a request for compassionate release to the warden of his facility on
     June 11, 2020. (Dkt. No. 361 at 13.) Thus, Defendant has satisfied the exhaustion requirement of
26   18 U.S.C. 3582(c)(1)(A).

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 1   circumstances. See United States v. Cosgrove, 454 F. Supp. 3d 1063, 1067 (W.D. Wash. 2020);

 2   United States v. Dorsey, 461 F. Supp. 3d 1062, 1065 (W.D. Wash. 2020).

 3          Defendant suffers from several health conditions that may increase his risk of serious

 4   illness from a COVID-19 infection. See “People with Certain Medical Conditions,”

 5   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

 6   conditions.html. This includes Type II diabetes, obesity, and hypertension. 2 (Dkt. No. 382 at 11–

 7   12; see generally Dkt. No. 380.) While such conditions may represent the type of extraordinary

 8   and compelling circumstances to justify a reduction in sentence, 3 the Court does not make that
 9   determination here in light of Defendant’s failure to demonstrate that, if released, he would not
10   represent a danger to the safety of any other person or to the community. See U.S.S.G.
11   § 1B1.13(2).
12          In determining whether Defendant would represent a danger to the safety of any person
13   or the community, the Court looks to the nature and circumstances of a defendant’s underlying
14   offense, the weight of evidence against him, his history and characteristics, and the nature and
15   seriousness of the danger his release would pose to any person or the community. See 18 U.S.C.
16   § 3142(g). In his plea agreement, Defendant admitted to knowingly participating in a large-scale
17   conspiracy to distribute significant quantities of illicit substances and launder the ill-gotten
18   spoils. (Dkt. No. 289 at 6–8.) Moreover, investigators seized a 9mm pistol and ammunition at the

19   time of Defendant’s arrest. (Id. at 6, 8.) In addition, the Court is troubled by Defendant’s past

20   conduct, which includes prior convictions for kidnap, assault, rape, and lewd and lascivious acts

21   with a child. (Dkt. No. 382 at 15–16.) Based on this history, Defendant cannot make the requisite

22   showing.

23          Accordingly, the Court DENIES Defendant’s motions for compassionate release and for

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             Hypertension “might” increase the risk of severe illness due to COVID-19. Id.
25   (emphasis added).
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              The Court declines to address whether Defendant may invoke U.S.S.G. § 1B1.13 cmt.
26   n.1(D)’s “‘catch-all’ provision” to find his circumstances extraordinary and compelling.

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 1   a reduction in sentence (Dkt. Nos. 361, 382).

 2            B.     Motions to Seal and to File Overlength Brief

 3            The parties move to maintain under seal exhibits containing Defendant’s medical records

 4   (Dkt. Nos. 380, 384). The Court starts from the position that “[t]here is a strong presumption of

 5   public access to [its] files.” W.D. Wash. Local Civ. R. 5(g)(3); see also Nixon v. Warner

 6   Commc’ns, Inc., 435 U.S. 589, 597 (1978). To overcome that presumption, a party seeking to

 7   seal a judicial record must show “compelling reasons” to seal the record if it relates to a

 8   dispositive pleading. Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir.
 9   2006). Here, the exhibits contain Defendant’s confidential and highly personal medical
10   information. There is little value in disclosing this information to the public. Therefore, there is a
11   compelling interest in maintaining the confidentiality of such records and that interest outweighs
12   the public’s interest in their disclosure. See Kamakana, 447 F.3d at 1179. Thus, the Court
13   GRANTS the parties’ motions to seal (Dkt. Nos. 379, 383).
14            Finally, the Government moves to file a 17-page brief (Dkt. No. 381). The Government’s
15   brief is in response to Defendant’s pro se motion for compassionate release (Dkt. No. 361),
16   Defendant’s pro se supplement (Dkt. No. 365), and Defendant’s motion for a reduction in
17   sentence (Dkt. No. 377), which total 20 pages of argument. A response brief of 17 pages is
18   reasonable. Therefore, the Court GRANTS the Government’s motion to file an overlength brief

19   (Dkt. No. 381).

20   III.     CONCLUSION

21            For the foregoing reasons, the Court DENIES Defendant’s motions for compassionate

22   release and to reduce sentence (Dkt. Nos. 361, 377) and GRANTS the parties’ motions to seal

23   and the Government’s motion to file an overlength brief (Dkt. Nos. 379, 381, 383). The Clerk is

24   DIRECTED to maintain Docket Numbers 380 and 384 under seal until further order of the

25   Court.

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 1         DATED this 9th day of November 2020.




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                                                  John C. Coughenour
 5                                                UNITED STATES DISTRICT JUDGE
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